    Case 2:18-cv-12727-VAR-DRG ECF No. 8 filed 09/13/18                        PageID.75    Page 1 of 2




                                       UNITED	STATES	DISTRICT	COURT	
                                       EASTERN	DIVISION	OF	MICHIGAN	
                                                     	
MENG	HUANG,	
          	
          Plaintiff,	
v.	  	    	     	     	  	    	    Case	No:	2:18‐cv‐12727	
	
THE	OHIO	STATE	UNIVERSITY	    	    Judge	Victoria	A.	Roberts	
and	GIORGIO	RIZZONI,	 	  	    	    Magistrate	Judge	David	R.	Grand	
          	
          Defendants.	
	
	
	
              STIPULATED	ORDER	EXTENDING	TIME	FOR		
             DEFENDANTS	TO	FILE	RESPONSIVE	PLEADING	
	    	

           This	 matter	 is	 before	 the	 Court	 on	 Defendants’	 request	 for	 additional	

time	to	respond	to	the	complaint,	and	based	upon	the	parties’	stipulation,	and	

the	Court	being	advised;	

           IT	 IS	 ORDERED	 that	 Defendants	 shall	 have	 until	 November	 6,	 2018	 to	

file	to	move,	plead,	or	otherwise	respond	to	the	complaint.	

           	

           	

																																																							     S/Victoria	A.	Roberts	
	           			        	           	           	        	   Honorable Victoria A. Roberts
                                                            United States District Court	
	
	
Dated:	September	13,	2018	
                                                              1	
	
    Case 2:18-cv-12727-VAR-DRG ECF No. 8 filed 09/13/18   PageID.76   Page 2 of 2




Agreed:	
	
s/Bruce	C.	Fox___________________	        s/Christina	L.	Corl	     	     _	
Bruce	C.	Fox	(Pa.	ID	42576)	              Christina	L.	Corl		(P52836)	
Obermayer	Rebmann	Maxwell		               PLUNKETT	COONEY	
&	Hippel	LLP	                             300	E.	Broad	Street,	Suite	590	
500	Grant	Street,	Ste.	5240	              Columbus,	OH	43215	
Pittsburgh,	PA	15219	                     ccorl@plunkettcooney.com	
bruce.fox@obermayer.com	                  614‐629‐3018	
412‐566‐1500	                             	
	                                         s/Courtney	Nichols_____________	
Counsel	for	Plaintiff	                    Courtney	Nichols	(P75160)	
	                                         PLUNKETT	COONEY	
s/John	G.	Adam_________________	          38505	Woodward	Ave.,	Ste.	100	
John	G.	Adam	(P37205)	                    Bloomfield	Hills,	MI	48306	
Legghio	&	Israel,	P.C.	                   cnichols@plunkettcooney.com	
306	S.	Washington,	Suite	600	             248‐901‐4000	
Royal	Oak,	MI	48067	                      	
jga@legghioisrael.com	                    Counsel	for	Defendants	
248‐398‐5900	
	
Local	Counsel	for	Plaintiff	
	
September	13,	2018	
	
	
	
	
	
Open.25577.83339.20905900‐1	




                                        2	
	
